                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES FIRE INSURANCE
COMPANY,

                Plaintiff,

v.                                                             Case No. 4:21-cv-283

THE STAROSTA LAW FIRM, LLC;
TIMOTHY STAROSTA; and
ANGELA SCANLAN,

                Defendants.


                                           COMPLAINT

       Plaintiff United States Fire Insurance Company (“U.S. Fire”), pursuant to 28 U.S.C.

§ 2201(a) and Federal Rules of Civil Procedure 8(a) and 57, for its complaint against Defendants

The Starosta Law Firm, LLC (“Law Firm”), Timothy Starosta, and Angela Scanlan alleges as

follows:

                        I.    PARTIES, JURISDICTION, AND VENUE

       1.       U.S. Fire is an insurance company and corporation organized under the laws of the

State of Delaware with its principal place of business in the State of New Jersey.

       2.       The Law Firm is a limited liability company organized under the laws of the State

of Missouri with its principal place of business in the State of Missouri. Upon information and

belief, Starosta is the Law Firm’s sole member.

       3.       Starosta is an attorney licensed and practicing in the State of Missouri and a citizen

and resident of the State of Missouri.

       4.       Angela Scanlan is a citizen and resident of the State of Missouri.




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        5.       The Court has jurisdiction over this case pursuant to 28 U.S.C. § 1332(a)(1) because

complete diversity exists between U.S. Fire and Defendants, and the amount in controversy

exceeds the sum of $75,000, exclusive of interest and costs.

        6.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1)-(2) because

Starosta and Scanlan reside in this district and a substantial part of the events giving rise to U.S.

Fire’s claims for relief occurred in this district.

                               II.    GENERAL ALLEGATIONS

                                         A. Underlying Suit

        7.       On April 9, 2014, Angela Scanlan sustained injuries in a motor vehicle accident

(“Accident”) involving K&B Contractors and Ryan Shockley in Clay County, Missouri.

        8.       On April 18, 2014, Scanlan retained Starosta to represent her in connection with

claims for damages she may have against K&B Contractors and Shockley as a result of the

Accident.

        9.       Scanlan executed a Contingent Fee Contract with Starosta and the Law Firm on

April 18, 2014. See Ex. A.

        10.      By letter dated May 7, 2014, Starosta confirmed the representation with a signed

Attorney-Client Engagement Letter. See Ex. B (redacted).

        11.      Starosta did not file any pleadings against K&B Contractors or Shockley within the

five-year statute of limitation, which expired on April 9, 2019.

        12.      By emails dated May 28, June 1, and June 3, 2019, Scanlan and her husband

requested status updates from Starosta, voiced concern that her case against K&B Contractors or

Shockley may not have been filed in time, and inquired whether she should get new counsel. See

Ex. C (redacted).




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       13.     On July 5, 2019, following a meeting with Scanlan, Starosta sent her a letter

confirming he advised her of the status of the matter, of the current settlement offers, and that the

settlement offers “should be responded to as quickly as possible” (“July 5, 2019 Letter”). See

Ex. D (redacted). In the July 5, 2019 Letter, Starosta also confirmed that he would no longer be

representing Scanlan and he had “advised that [she] should immediately consult with an

independent attorney to analyze whether [she] may have a claim against [him].” See Ex. D.

       14.     By letter dated July 11, 2019, the law firm of Davis, Bethune & Jones, LLC

informed Starosta that Scanlan had retained the firm to investigate potential legal malpractice

claims she may have against him. The letter requested that Starosta notify his malpractice

insurance carrier, if he had not done so already, and made a formal demand for all insurance

policies. See Ex. E.

       15.     On October 25, 2019, Scanlan filed a lawsuit captioned Angela Scanlan, E.S. a

minor by and through her next friend Patrick Scanlan, and T.S. a minor by and through her next

friend Patrick Scanlan v. The Starosta Law Firm, LLC and Timothy Starosta, Jackson County,

Missouri Circuit Court, Case No. 1916-CV29334 (“Underlying Suit”) against Starosta and the

Law Firm. A true and correct copy of the Petition filed in the Underlying Suit on October 25,

2019 is attached as Exhibit F.

       16.     In the Petition, Scanlan asserts two counts against Starosta and the Law Firm for

legal malpractice and punitive damages. See Ex. F, ¶¶ 19 - 24.

       17.     On November 14, 2019, Scanlan properly served Starosta and the Law Firm with

summons and a copy of the Petition in the Underlying Suit. See Exs. G and H.

       18.     Neither Starosta nor the Law Firm responded to the Petition in the Underlying Suit.

See Ex. I.




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       19.     On April 1, 2021, Scanlan filed a Motion for Order of Interlocutory Default

Judgment in the Underlying Suit. A true and correct copy of the Motion for Order of Interlocutory

Default Judgment filed in the Underlying Suit on April 1, 2021 is attached as Exhibit J.

       20.     A hearing on the Motion for Order of Interlocutory Default Judgment in the

Underlying Suit has been scheduled for April 29, 2021. See Ex. K.

                                      B. Notice to U.S. Fire

       21.     On October 15, 2020, U.S. Fire received a letter dated October 9, 2020 from

Scanlan’s counsel at Davis, Bethune & Jones, LLC, advising that she had retained such counsel

regarding a legal malpractice action against Starosta and the Law Firm arising out of Starosta’s

failure to file suit for Scanlan’s damages arising out of the Accident before the limitations period

expired on April 9, 2019 (“October 9, 2020 Notice of Claim”). See Ex. L.

       22.     The October 9, 2020 Notice of Claim stated “Starosta has informed us that he has

professional liability insurance through Crum & Forster / United States Fire Insurance Company”

and requested copies of all insurance policies that may provide coverage for the Underlying Suit.

See Ex. L.

                                         C. The Policies

       23.     U.S. Fire issued Lawyers Professional Liability Insurance Policy Number 580-

326761-7 to The Starosta Law Firm LLC for the April 1, 2019 to April 1, 2020 Policy Period (the

“2019 – 2020 Policy”). A true and correct copy of the 2019 – 2020 Policy, with the premium

redacted, is attached as Exhibit M.

       24.     The 2019 – 2020 Policy provides legal professional liability insurance on a claims

made and reported basis. Ex. M, Insuring Agreement I.A, at USFIC000005.

       25.     The 2019 – 2020 Policy’s Insuring Agreement states, in relevant part:




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              Subject to the Limit of Liability shown in Item 3. of the Declarations and as
              limited in Section II., the Insurer shall pay on behalf of the Insured all
              Damages and Defense Expenses in excess of the Deductible shown in Item
              4. of the Declarations and as limited in Section II., that the Insured becomes
              legally obligated to pay as a result of a Claim first made against the Insured
              and reported in writing to the Insurer during:
              1. the Policy Period; or
              2. any applicable Extended Reporting Period,
              by reason of a negligent act, error or omission in the performance of
              Professional Services by the Insured or by someone for whom the Insured
              is legally responsible, provided that such negligent act, error or omission
              began on or after the Prior Acts Date shown in Item 6. of the Declarations.

Ex. M, Insuring Agreement I.A., at USFIC000005.

       26.    The 2019 – 2020 Policy Policy’s Declarations Page states, in relevant part:

              NOTICE: THIS IS A CLAIMS MADE AND REPORTED POLICY.
              EXCEPT AS OTHERWISE PROVIDED HEREIN, THIS POLICY
              PROVIDES COVERAGE FOR CLAIMS FIRST MADE AGAINST THE
              INSUREDS AND REPORTED TO THE INSURER DURING THE
              POLICY PERIOD OR DURING ANY APPLICABLE EXTENDED
              REPORTING PERIOD. . . .

Ex. M, Declarations Page, at USFIC000004.

       27.    The 2019 – 2020 Policy defines “Claim” as:

              1.   a demand or civil proceeding seeking Damages;
              2.   service of suit seeking Damages;
              3.   institution of alternative dispute proceedings seeking Damages; or
              4.   a demand for services.

Ex. M, Definitions IV.B., at USFIC000010.

       28.    The 2019 – 2020 Policy’s Notice of Claim provision provides, in relevant part:

              The Insureds shall, as a condition precedent to the obligations of the
              Insurer under this policy, give written notice of a Claim as soon as
              practicable, but in no event later than 60 days after the expiration of the
              Policy Period. . . . Such written notice shall include:
                  (a) all written correspondence between the claiming party and any
                      Insured;
                  (b) a written summary of the facts and circumstances of the allegation
                      of the negligent act, error, omission, Personal Injury or
                      Advertising Liability;



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                   (c) dates and details of the parties involved; and
                   (d) possible Damages.

Ex. M, General Conditions VI.A., at USFIC000013.

       29.     Despite knowledge of the missed statute of limitation on Scanlan’s claims, and

knowledge of the Underlying Suit, having been served on November 14, 2019, Starosta failed to

disclose the Underlying Suit on the application for the 2020 – 2021 Policy, which he signed on

March 27, 2020. See Ex. N (redacted).

       30.     Specifically, question 4b on the application for the 2020 – 2021 Policy, signed on

March 27, 2020, asked “[a]fter inquiry of all attorneys and staff of the firm, within the past year

have any past or present personnel . . . know of any professional liability claims made against the

firm, its affiliates or its personnel?” Starosta responded “no.” See Ex. N, at page 3.

       31.     Question 4c on the application for the 2020 – 2021 Policy also asked “[a]fter

inquiry of all attorneys and staff of the firm, within the past year have any past or present personnel

. . . become aware of any act, error or omission or fee dispute which might become the basis of a

claim against the firm or its personnel?” Starosta again responded “no.” See Ex. N, at page 3.

       32.     The application for the 2020 – 2021 Policy includes the following after question 4:

               NOTE: THE POLICY FOR WHICH THIS APPLICATION IS
               BEING MADE SHALL NOT APPLY TO ANY INCIDENTS OR
               CLAIMS DETAILED OR WHICH SHOULD HAVE BEEN
               DETAILED IN QUESTION 4 a, b, or c ABOVE.

See Ex. N, at page 3.

       33.     In reliance on Starosta’s answers in the March 27, 2020 application for the 2020 –

2021 Policy, U.S. Fire issued Lawyers Professional Liability Insurance Policy Number 580-

333251-6 to The Starosta Law Firm LLC for the April 1, 2020 to April 1, 2021 Policy Period




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(“2020 – 2021 Policy”). A true and correct copy of the 2020 – 2021 Policy, with the premium

redacted, is attached as Exhibit O.

       34.     The 2020 – 2021 Policy was cancelled effective September 20, 2020. Ex. O,

Endorsement Number: LPL-114 (04/17), at USFIC000051.

       35.     The 2020 – 2021 Policy provides legal professional liability insurance on a claims

made and reported basis. Ex. O, Insuring Agreement I.A., at USFIC000033.

       36.     The 2020 – 2021 Policy’s Insuring Agreement states, in relevant part:

               Subject to the Limit of Liability shown in Item 3. of the Declarations and as
               limited in Section II., the Insurer shall pay on behalf of the Insured all
               Damages and Defense Expenses in excess of the Deductible shown in Item
               4. of the Declarations and as limited in Section II., that the Insured becomes
               legally obligated to pay as a result of a Claim first made against the Insured
               and reported in writing to the Insurer during:
               1. the Policy Period; or
               2. any applicable Extended Reporting Period,
               by reason of a negligent act, error or omission in the performance of
               Professional Services by the Insured or by someone for whom the Insured
               is legally responsible, provided that such negligent act, error or omission
               began on or after the Prior Acts Date shown in Item 6. of the Declarations.

Ex. O, Insuring Agreement I.A., at USFIC000033.

       37.     The 2020 – 2021 Policy’s Declarations Page states, in relevant part:

               NOTICE: THIS IS A CLAIMS MADE AND REPORTED POLICY.
               EXCEPT AS OTHERWISE PROVIDED HEREIN, THIS POLICY
               PROVIDES COVERAGE FOR CLAIMS FIRST MADE AGAINST THE
               INSUREDS AND REPORTED TO THE INSURER DURING THE
               POLICY PERIOD OR DURING ANY APPLICABLE EXTENDED
               REPORTING PERIOD. . . .

Ex. O, Declarations Page, at USFIC000032.

       38.     The 2020 – 2021 Policy defines “Claim” as:

               1.   a demand or civil proceeding seeking Damages;
               2.   service of suit seeking Damages;
               3.   institution of alternative dispute proceedings seeking Damages; or
               4.   a demand for services.



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Ex. O, Definitions IV.B., at USFIC000038.

          39.   The 2020 – 2021 Policy does not apply to any Claim “arising out of . . . any facts

or circumstances which any Insured had knowledge of as of the effective date of this policy and

which could reasonably have been expected to give rise to a Claim.” Ex. O, Exclusion V.K., at

USFIC000041.

          40.   By letter dated March 11, 2021, U.S. Fire denied coverage for the Underlying Suit

under the 2020 – 2021 Policy on the grounds that: (1) the Claim was not made or reported during

the Policy Period and, instead was made on or before November 14, 2019; (2) there is no coverage

based on Exclusion K because Starosta and the Law Firm – the Insureds – were aware of

circumstances which could – and in fact did – give rise to the Claim before the 2020 – 2021 Policy

incepted on April 1, 2020; and (3) based on the exclusion in the Policy application. See Ex. P, at

pages 3-5.

                               III.   CLAIMS FOR RELIEF

                              A. FIRST CLAIM FOR RELIEF
                   (For a Declaration That The 2019 – 2020 U.S. Fire Policy
                      Does Not Afford Coverage for the Underlying Suit)

          41.   U.S. Fire incorporates and realleges paragraphs 1 through 40 as if fully set forth

herein.

          42.   Coverage under the 2019 – 2020 Policy is limited to claims first made and reported

to U.S. Fire during the April 1, 2019 to April 1, 2020 Policy Period. See Ex. M, at USFIC000005.

          43.   The Claim was made during the Policy Period, no later than November 14, 2019,

when Starosta and the Law Firm were served with the Petition in the Underlying Suit. See Exs. G

and H.




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          44.   The terms of the 2019 – 2020 Policy require that the Claim be reported during the

Policy Period. See Ex. M, at USFIC000005.

          45.   U.S. Fire first became aware of the Underlying Suit over six months after the 2019

– 2020 Policy expired. Therefore, the Claim does not trigger the 2019 – 2020 Policy’s Insuring

Agreement.

          46.   An actual controversy exists between U.S. Fire and Starosta and the Law Firm

regarding whether the 2019 – 2020 Policy affords coverage for the Underlying Suit.

          47.   Because the Underlying Suit is outside the coverage afforded by the 2019 – 2020

Policy, U.S. Fire is entitled to a declaratory judgment in its favor, pursuant to 28 U.S.C. § 2201(a),

declaring that the 2019 – 2020 Policy does not afford coverage for the Underlying Suit, and U.S.

Fire has no duty to defend or indemnify Starosta or the Law Firm with respect to the Underlying

Suit under the 2019 – 2020 Policy.

                             B. SECOND CLAIM FOR RELIEF
                   (For a Declaration That The 2020 – 2021 U.S. Fire Policy
                      Does Not Afford Coverage for the Underlying Suit)

          48.   U.S. Fire incorporates and realleges paragraphs 1 through 47 as if fully set forth

herein.

          49.   Coverage under the 2020 – 2021 Policy is limited to claims first made and reported

to U.S. Fire during the April 1, 2020 to September 20, 2020 Policy Period. See Ex. O, at

USFIC000033.

          50.   The Claim was neither made nor reported during the Policy Period and, therefore,

does not trigger the 2020 – 2021 Policy’s Insuring Agreement.

          51.   Rather, the Claim was made nearly six months before the Policy Period, no later

than November 14, 2019, when Starosta and the Law Firm were served with summons and a copy




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of the Petition in the Underlying Suit, but first reported to U.S. Fire by Scanlan’s counsel several

weeks after the 2020 – 2021 Policy was cancelled. See Exs. G, H, and L.

       52.     Given Starosta’s knowledge of the Underlying Suit and of the circumstances that

gave rise to the Underlying Suit prior to the 2020 – 2021 Policy Period, coverage is otherwise

precluded pursuant to Exclusion K, which states that the 2020 – 2021 Policy does not apply to any

Claim “arising out of . . . any facts or circumstances which any Insured had knowledge of as of the

effective date of this policy and which could reasonably have been expected to give rise to a

Claim.” Ex. O, Exclusion V.K., at USFIC000041.

       53.     Additionally, in light of Startosta’s failure to disclose the Underlying Suit on the

application for the 2020 – 2021 Policy, coverage is precluded pursuant to the exclusion in the

application which states, in relevant part, “POLICY . . . SHALL NOT APPLY TO ANY

INCIDENTS OR CLAIMS . . . WHICH SHOULD HAVE BEEN DETAILED IN QUESTION 4

a, b, or c ABOVE.” Ex. N, at page 3.

       54.     An actual controversy exists between U.S. Fire and Starosta and the Law Firm

regarding whether the 2020 – 2021 Policy affords coverage for the Underlying Suit.

       55.     Because the Underlying Suit is outside the coverage afforded by the 2020 – 2021

Policy, U.S. Fire is entitled to a declaratory judgment in its favor, pursuant to 28 U.S.C. § 2201(a),

declaring that the 2020 – 2021 Policy does not afford coverage for the Underlying Suit, and U.S.

Fire has no duty to defend or indemnify Starosta or the Law Firm with respect to the Underlying

Suit under the 2020 – 2021 Policy.

       WHEREFORE, U.S. Fire prays that judgment be entered in its favor as follows:




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       1.      Declaring that the 2019 – 2020 Policy does not afford coverage for the Underlying

Suit, and U.S. Fire has no duty to defend or indemnify Starosta or the Law Firm under the 2019 –

2020 Policy;

       2.      Declaring that the 2020 – 2021 Policy does not afford coverage for the Underlying

Suit, and U.S. Fire has no duty to defend or indemnify Starosta or the Law Firm under the 2020 –

2021 Policy; and

       3.      Awarding U.S. Fire such additional relief as shall be deemed appropriate in the

circumstances, together with its costs and expenses.

       Dated this 28th day of April, 2021.

                                                       UNITED STATES FIRE INSURANCE
                                                       COMPANY, Plaintiff


                                                        s/ Angela Probasco
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